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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 7

UBIOME, INC.,1                                               Case No. 19-11938 (LSS)

                             Debtor.
                                                                             494
                                                             Re: Docket No. ____

        SIXTH ORDER (A) FURTHER ENLARGING THE PERIOD WITHIN
    WHICH THE TRUSTEE MAY REMOVE ACTIONS THROUGH AND INCLUDING
          NOVEMBER 28, 2022, AND (B) GRANTING RELATED RELIEF

          Upon consideration of the motion (the “Motion”)2 of Alfred T. Giuliano, chapter 7 trustee

(the “Trustee”) to the estate of the above-captioned debtor (the “Debtor”), for entry of an order:

(a) further enlarging the removal period for filing notices of removal of Actions by one hundred

eighty one (181) days, through and including November 28, 2022, without prejudice to the

Trustee’s right to seek further extensions; and (b) granting related relief, all as more fully set

forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012, and the Court having the power to

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtor’s estate, its creditors, and other parties in interest; and this

Court having found that notice of and opportunity for a hearing on the Motion were appropriate;


1 The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019).

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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and this Court having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The time period provided by Bankruptcy Rule 9027 within which the Trustee may

file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(2) is enlarged and

extended through and including November 28, 2022 (the “Pre-Petition Removal Deadline”).

        3.       The Pre-Petition Removal Deadline applies to all matters specified in Bankruptcy

Rule 9027(a)(2)(A), (B), (C).

        4.       The time period provided by Bankruptcy Rule 9027 within which the Trustee may

file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(3) is enlarged and

extended to the later of (i) November 28, 2022, and (ii) the time period specified in Bankruptcy

Rule 9027(a)(3)(A) and (B) (i.e. the shorter of (A) 30 days after receipt, through service or

otherwise, of a copy of the initial pleading setting forth the claim or cause of action sought to be

removed, or (B) 30 days after receipt of the summons if the initial pleading has been filed with

the court but not served with the summons) (the “Post-Petition Removal Deadline”).

        5.       The Post-Petition Removal Deadline applies to all matters specified in

Bankruptcy Rule 9027(a)(3).

        6.       This Order shall be without prejudice to (a) any position the Trustee may take

regarding whether section 362 of the Bankruptcy Code applies to any litigation pending against

the Debtor, including, but not limited to, any of the Actions, or (b) the Trustee’s right to seek

further extensions of the time within which to file notices of removal of the Actions, or any other

actions and related proceedings, upon motion filed with the Court.



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        7.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        8.      The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        9.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




      Dated: June 13th, 2022                          LAURIE SELBER SILVERSTEIN
      Wilmington,
DOCS_DE:239287.1     Delaware
                 31271/001                        3   UNITED STATES BANKRUPTCY JUDGE
